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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

   

 

CASE SUMMARY .
ee Me Te ae =
Case Number “ Defendant Number _
U.S.A. v. Louis Arriola Year of Birth _1960 = —
C1 Indictment Mi Information Investigative agency (FBI, DEA, etc.) USSS, FBI —_ =
iN
NOTE: All items are to be completed. Information not applicable or unknown shall be indica ‘em re
oS Cm
OFFENSE/VENUE COMPLEX CASE Yo oS =
a. Offense charged as a: O Petty Offense Are there 8 or more defendantstin the fadictment/Information?
C1 Misdemeanor [J Minor Offense © Felony 0 Yes* No m8 ~

b. Date of offense March-July 2006
c. County in which first offense occurred
Los Angeles
d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

 

Mf Los Angeles O Ventura
C Orange C Santa Barbara
C Riverside 0 San Luis Obispo

Oo San Bernardino C1 Other
Citation of offense 18 U.S.C. 1341

 

RELATED CASE
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? No OO Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE

 

 

PREVIOUSLY FILED COMPLAINT

A complaint was previously filed on:
Case Number
Charging

 

 

 

 

The complaint: Cis still pending
CO was dismissed on:

 

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
0 Yes* No

* AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Superseding Indictment/Information

This is the superseding charge, i.e. 1“, 2".
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
0 is still pending before Judge/Magistrate Judge

 

O was previously dismissed on

Are there 8 or more defendants in the superseding case?
0 Yes* CO No

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
Cl] Yes* CO No

Was a Notice of Complex Case filed on the Indictment or
Information?
U1 Yes ONo

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Is an interpreter required: 0 Yes No
IF YES, list language and/or dialect:

 

 

 

CR-72 (12/05)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

CASE SUMMARY
OTHER CUSTODY STATUS

iWMale ) Female . :
ow ws . Defendant is not in custody:

USS. Citizen C] Alien : .
Alias Name(s) a. Date and time of arrest on complaint:

b. Posted bond at complaint level on:
in the amount of $

This defendant is charged in: W All counts c. PSA supervision? O Yes CO No
QO) Only counts: d. Is a Fugitive CD Yes OO No
O This defendant is designated as “High Risk” per e. Is on bail or release from another district:

18 USC 3146(a)(2) by the U.S. Attorney.
C1 This defendant is designated as “Special Case”

 

f. M Has not been arrested but will be notified by summons

 

 

 

 

 

 

 

 

 

to appear.
18 USC 3166(b)(7).
Per 3166(0)(7) g. Warrant requested. Ol Yes No
Is defendant a juvenile? 0 Yes No
IF YES, should matter be sealed? UO Yes CL] No Defendant is in custody:
The area of substantive law that will be involved in this case a. Place of incarceration: CO State CO Federal
includes: b. Name of Institution:
C financial institution fraud O public corruption c. If Federal: U.S. Marshal's Registration Number:
C] government fraud CO tax offenses , ,
C environmental issues Wo mail/wire fraud d. O Solely on this charge. Date and time of arrest:
Oo tics off F immigration off
naree ies ° enses NaN ON ONCTSES e. On another conviction: O Yes ONo
CX violent crimes/firearms C corporate fraud .
C Other: IF YES CO State C] Federal O Writ of Issue
_ ‘ f. Awaiting trial on other charges: DO Yes CU} No
IF YES 0 State 0 Federal AND
Name of Court:
Date transferred to federal custody:
This person/proceeding is transferred from another district
pursuant to F.R.CrP. 20 21 400
EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

 

 

 

 

Date June 11, 2008 RQ. Q2iGHA

Signature of Assistant U.S. Attorney

 

 

Rozella A. Oliver
Print Name

 

 

 

 

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